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                     UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

AARON MULVEY                                   §
AND CAROLYN MULVEY                             §
Plaintiffs,                                    §
                                               §
v.                                             §
                                               § Civil Case No.: 5:21-CV-01210
JOHN MICHAEL TIFFIN; AND                       §
TINA ANDERSON                                  §
Defendants.                                    §
                                               §

                               Plaintiff’s Original Complaint

 1.       Plaintiffs, Aaron and Carolyn Mulvey, natural persons and who are residents of

 Comal County, Texas. They presently reside at 5332 Saunter Lane, Bulverde, TX 78163.

 2.       Defendant Liquid Property Group, LLC is a corporate entity which may be served

 with process via its registered agent at: Registered Agents, Inc.; 5900 Balcones Drive;

 Suite 100; Austin, Texas 78731, USA.

 3.       Defendant John Michael Tiffin may be served by and through his attorney Dakota

 Wrinkle at 1910 Pacific Avenue, Suite 6030, Dallas, TX 75201 or wherever he may be

 found.

 4.       Defendant Tina Anderson may be served by and through his attorney Dakota

 Wrinkle at 1910 Pacific Avenue, Suite 6030, Dallas, TX 75201 or wherever he may be

 found.



                                      JURISDICTION

 5.       Jurisdiction of this court arises pursuant to 28 USC § 1332 as there is complete

 diversity between the plaintiffs and defendants and the plaintiffs are seeking relief in
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excess of $75,000.00.

6.   Venue is proper in this District under 28 U.S.C. § 1391(b) because the property in

dispute is located within this district.

                                           FACTS

7.   Aaron Mulvey and Carolyn Mulvey entered into a contract with Liquid Property

Group, LLC and John Michael Tiffin by tendering $5,100.00 in escrow to buy land which

has groundwater. Exhibit “A.” The contract states:




8.   The groundwater rights are owned by another party. Specifically, the subdivision’s

developer previously reserved the water rights. Instrument number 200206021873 of the

Official Records of Comal County, Texas states:
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9.   John Michael Tiffin and Tina Anderson committed fraud on and caused a breach of

contract with Aaron and Carolyn Mulvey by asserting that land it was selling had

groundwater rights. Tina Anderson expressly told the Mulvey’s realtor that the Mulveys

could “dig a well for water” on the land. John Michael Tiffin, the sole owner of Liquid

Property Group, executed the above contract on behalf of Liquid Property Group, LLC

and signed in an individual capacity. The signature lines on the contract read as follows:




11. Due to the property’s uniqueness, Aaron Mulvey and Carolyn Mulvey, seek specific

performance and monetary damages pursuant to paragraph 15 of the contract. It states:
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10. The Mulveys relied on both Tiffin’s and Anderson’s representations to their

detriment by moving near the property, renting a home for nine months, enrolling their

children in schools near the property, and making plans to build a home on the land.

11. The Mulveys have already moved from Dallas and because the property is unique

still wish to build a home, and as such Aaron Mulvey and Carolyn Mulvey seek to have

the property conveyed and the defendants incur an offset for the value of the

groundwater.

12. Still today, Liquid Property Group, LLC and John Michael Tiffin have refused to

perform pursuant to the contract. When the Mulveys discovered the began to question

the reservation, Tiffin and Anderson remained silent, then denied having knowledge of it,

and then refused to reduce the price. When the Mulveys finally sued in state court, the

defendants hired an attorney threatened to delay the proceedings through frivolous filings

and then acted on those threats.

13. For example, the defendants filed a special appearance on behalf of Liquid Property

Group, LLC (A sole member Delaware company) which maintains a registered agent in

the State of Texas, along with Tiffin and Anderson whom citations were never issued for

and then never set a hearing. In its special appearance, Tiffin and Anderson executed

affidavits stating there were not sufficient minimum contacts, despite the property being

in Texas and having process 300 real estate transactions through Liquid Property Group,

LLC in the last 18 months in the State of Texas.

14. Simply put, Tina Anderson and Michael Tiffin don’t appear to phased by their

actions. As such, the Mulvey’s require this court’s intervention through the below causes

of action and request relief pursuant to the law and contract.
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                                  CAUSES OF ACTION


                               BREACH OF CONTRACT

25. Each of the acts as described above establish breach of contract in that (1) There

was a valid and existing contract; (2) the defendants did not perform pursuant to that

contract; (3) as such, the defendants failed to perform pursuant to the contract; (4) the

plaintiffs were damaged as a result of the contract.




                                          FRAUD


26. Each of the acts as described above establish both common law fraud, statutory

fraud in that the defendants made (1) representations of fact that were false and material

that; (2) and had knowledge that their representations were false or ignorant of the truth;

that the defendants (3) intended the Plaintiffs act the defendants misrepresentations; and

(4) that due the Plaintiff’s reliance on the defendants’ misrepresentations, the Plaintiffs

were damaged.




                               DAMAGES AND PRAYER



17.      WHEREFORE, PREMISES CONSIDERED, the Plaintiffs herein, complains of

the Defendants herein and pray that the Defendants be cited to appear and answer and

that on a final trial on the merits, the Plaintiffs recovers from the Defendants the

following relief:
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         1.) That the defendant be required to specifically perform pursuant to the

         contract by tendering the property to the plaintiffs;

         2.) For breach of contract, that the plaintiffs be entitled to regain the

         benefit of the bargain withheld by either:

               a.) deducting the fair market value of the plaintiffs damages from

               the agreed upon price pursuant to the contract; OR

               b.) requiring the defendants to perform pursuant to the contract by

               conveying the property to the plaintiffs and proving that the

               defendants are entitled to a monetary offset from the plaintiffs;

         3.) For Fraud, the Plaintiffs be entitled to recover both consequential and

         punitive damages;

         4.) Together with attorney’s fees due to the time the plaintiffs have

         exhausted in their own pursuit of remedies both pursuant to the contract

         and for fraud; and

         5.) Such other and further relief that this court may deem as just and

         proper.




                                                      Respectfully submitted,




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